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10
                                       UNITED STATES DISTRICT COURT
11
                                    NORTHERN DISTRICT OF CALIFORNIA
12
                                                SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                          )   Case No. CR-15-00226-EJD
                                                        )
15           Plaintiff,                                 )   UNITED STATES’ AMENDED EXHIBIT LIST
                                                        )
16      v.                                              )
                                                        )   Trial Date:    August 25, 2015
17   DOUGLAS YORK,                                      )   Time:          9:00 a.m.
                                                        )   Courtroom:     Hon. Edward J, Davila
18           Defendant.                                 )
                                                        )
19

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21           The United States may offer the exhibits set forth on this Exhibit List at the trial of this case.
22 The government reserves the right to amend this list.

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     UNITED STATES’ AMENDED EXHIBIT LIST
     CR-15-00226-EJD
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              Case5:15-cr-00226-EJD Document60 Filed08/24/15 Page2 of 2



 1   Exhibit Date ID Date Sponsoring                      Description                     Bates
     Number          Admitt Witness                                                       Range
 2                     ed
 3       1                               Teltech Systems Inc. (Spoofcard) voice
                                         recording.
 4
        1a                               Transcript of Teltech Systems Inc.
 5                                       (Spoofcard) voice recording.

 6       2                               Teltech Systems Inc. (Spoofcard) records.

 7
         3                               Verizon Wireless records.
 8

 9       4                               Audio recording from Hessenflow’s voice
                                         mailbox.
10
        4a                               Transcript of audio recording from
11                                       Hessenflow’s voice mailbox.
12
         5                               Email to TIGTA from Hessenflow reporting
13                                       voice mail.

14       6                               Withheld

15
         7                               Craigslist records pertaining to a posting on
16                                       2/24/2012.
17       8                               A photograph of defendant’s Facebook page.
18

19       9                               Withheld

20

21
     DATED: August 24, 2015                           Respectfully submitted,
22
                                                      MELINDA HAAG
23                                                    United States Attorney
24
                                                             /s/
25
                                                      BRIANNA L. PENNA
26                                                    JEFF SCHENK
                                                      Assistant United States Attorneys
27

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     UNITED STATES’ AMENDED EXHIBIT LIST
     CR-15-00226-EJD
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